Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 1 of 21 Page ID #:11




                     EXHBIT A
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 2 of 21 Page ID #:12
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 3 of 21 Page ID #:13




                    EXHIBIT B
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 4 of 21 Page ID #:14
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 5 of 21 Page ID #:15




                    EXHIBIT C
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 6 of 21 Page ID #:16
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 7 of 21 Page ID #:17
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 8 of 21 Page ID #:18
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 9 of 21 Page ID #:19
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 10 of 21 Page ID #:20
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 11 of 21 Page ID #:21
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 12 of 21 Page ID #:22
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 13 of 21 Page ID #:23
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 14 of 21 Page ID #:24
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 15 of 21 Page ID #:25
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 16 of 21 Page ID #:26
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 17 of 21 Page ID #:27
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 18 of 21 Page ID #:28
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 19 of 21 Page ID #:29
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 20 of 21 Page ID #:30
Case 2:19-cv-04018-PSG-SK Document 1-1 Filed 05/08/19 Page 21 of 21 Page ID #:31
